                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JAZMEN WYATT                                           :                     CIVIL ACTION
         Plaintiff                                     :
                                                       :                     NO. 21-2406
                 v.                                    :
                                                       :
PECO ENERGY COMPANY                                    :
         Defendant                                     :

                                                 ORDER
        AND NOW, this 1st day of March 2023, upon consideration of Defendant’s motion for

summary judgment, [ECF 14], Plaintiff’s response in opposition, [ECF 17], and Defendant’s reply,

[ECF 20], it is hereby ORDERED that the motion is GRANTED, in part, as follows:

        1. By agreement, Plaintiff’s claims for failure to accommodate under the Americans with

            Disabilities Act of 1990 (the “ADA”), 42 U.S.C. § 12101 et seq., and the Pennsylvania

            Human Relations Act (the “PHRA”), 43 Pa. Cons. Stat. § 951 et seq., (within Counts I

            and IV) are DISMISSED; 1


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         Briefly, the relevant facts of this case are as follows: Beginning July 15, 2019, Plaintiff was
employed by Defendant PECO Energy Company (“PECO”) as a Customer Consultant/Customer Service
Representative (“CSR”), a position subject to federal regulations regarding drug testing and subject to
PECO’s Drug and Alcohol Policy. In June 2020, Plaintiff began an approved leave relating to a short-term
disability for which she was cleared to return to work in September 2020. Because Plaintiff’s leave lasted
more than 60 days, under applicable federal regulations and the PECO Drug and Alcohol Policy, Plaintiff
was required to submit to a drug test to return to work. Plaintiff appeared and provided a urine sample at
an initial drug test, but the results were deemed invalid, requiring her to present for a second test. Plaintiff
appeared for the second drug test but left before providing an observed urine sample, which she was told
was to be submitted within a three-hour period. Defendant terminated Plaintiff’s employment due to
Plaintiff’s purported “refusal” to take a drug test. Plaintiff asserts that Defendant unlawfully terminated
her employment because of her disability and/or in retaliation for accommodations and/or requests for leave
under the Family Medical Leave Act.

          Defendant moves for summary judgment on all of Plaintiff’s claims. Federal Rule of Civil
Procedure (“Rule”) 56 governs summary judgment motion practice and provides that summary judgment
is appropriate “if the movant shows that there is no genuine dispute as to any material fact and the movant
is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a); Eisai, Inc. v. Sanofi Aventis U.S., LLC,
821 F.3d 394, 402 (3d Cir. 2016). A fact is “material” if proof of its existence or non-existence might affect
the outcome of the litigation, and a dispute is “genuine” if “the evidence is such that a reasonable jury could
        2. Plaintiff’s claims for interference under the Family and Medical Leave Act (the

            “FMLA”), 29 U.S.C. § 2601, et seq., (Count II) are DISMISSED; 2 and



return a verdict for the nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).
When evaluating a motion under Rule 56, the court must view the evidence in the light most favorable to
the nonmoving party. Galena v. Leone, 638 F.3d 186, 196 (3d Cir. 2011); Montgomery Cnty. ex rel. Becker
v. MERSCORP, Inc., 16 F. Supp. 3d 535, 537 (E.D. Pa. 2014).

         Pursuant to Rule 56, the movant bears the initial burden of informing the court of the basis for the
motion and identifying those portions of the record that the movant “believes demonstrate the absence of a
genuine issue of material fact.” Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). The movant can meet
this burden by showing that the nonmoving party has “fail[ed] to make a showing sufficient to establish the
existence of an element essential to that party’s case.” Id. at 322. After the movant has met its initial
burden, summary judgment is appropriate if the nonmoving party fails to rebut the movant’s claim by
“citing to particular parts of materials in the record, including depositions, documents, electronically stored
information, affidavits or declarations, stipulations . . . , admissions, interrogatory answers, or other
materials” that show a genuine issue of material fact or by “showing that the materials cited do not establish
the absence or presence of a genuine dispute.” Fed. R. Civ. P. 56(c)(1)(A)–(B); see also Davis v. City of
Phila., 2015 WL 4404871, at *2 (E.D. Pa. July 20, 2015) (quoting Fed. R. Civ. P. 56(c)). The nonmoving
party must “do more than simply show that there is some metaphysical doubt as to the material facts.”
Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986). The nonmoving party may
not rely on “bare assertions, conclusory allegations or suspicions,” Fireman’s Ins. Co. of Newark v.
DuFresne, 676 F.2d 965, 969 (3d Cir. 1982), or rest on the allegations in the pleadings, Celotex, 477 U.S.
at 324 (quoting Fed. R. Civ. P. 56(e)). Rather, the nonmoving party must “go beyond the pleadings” and,
either by affidavits, depositions, answers to interrogatories, or admissions on file, “designate ‘specific facts
showing that there is a genuine issue for trial.’” Id.

        Within Counts I and IV of her complaint, Plaintiff asserts claims under the ADA and the PHRA
based on Defendant’s alleged failure to accommodate her disability. Defendant moves to dismiss these
claims. In response to Defendant’s motion for summary judgment on these claims, Plaintiff advised that
she “does not contest the entry of summary judgment based on a failure to accommodate theory under the
ADA or PHRA.” (Pl.’s Resp. in Opp., ECF 17, at p. 2). In light of this concession, Defendant’s motion
for summary judgment is granted with respect to Plaintiff’s claims for failure to accommodate under the
ADA and PHRA (within Counts I and IV). Accordingly, these claims are dismissed.
2
         At Count II of the complaint, Plaintiff asserts a claim against Defendant under the FMLA for the
alleged interference with Plaintiff’s exercise or attempts to exercise her rights under the FMLA. The FMLA
essentially protects the right of certain employees to take leave for qualifying medical reasons. Defendant
moves for summary judgment on Plaintiff’s FMLA interference claim.

         To establish a prima facie case of FMLA interference, a plaintiff must present evidence sufficient
to show that: (1) she was an eligible employee under the FMLA; (2) the defendant was an employer subject
to the FMLA’s requirements; (3) she was entitled to FMLA leave; (4) she gave notice to the defendant of
her intention to take FMLA leave; and (5) she was denied benefits to which she was entitled under the
FMLA. Ross v. Gulhuly, 755 F.3d 185, 192 (3d Cir. 2014); Capps v. Mondelez Glob. LLC, 147 F. Supp.
3d 327, 334 (E.D. Pa. 2015), aff’d, 847 F.3d 144 (3d Cir. 2017). In its motion, Defendant argues that
Plaintiff has failed to present evidence to show, inter alia, that she was denied benefits to which she was
entitled under the FMLA, i.e., the fifth requisite element. Specifically, Defendant contends, and has

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        3. Plaintiff’s claims for retaliation under the ADA are DISMISSED. 3

It is further ORDERED that Defendant’s motion for summary judgment is DENIED with respect

to Plaintiff’s claims for discrimination under the ADA and the PHRA (within Counts I and IV) 4




provided evidence to support, that it never denied Plaintiff FMLA leave to which she was entitled. Plaintiff
provides no response to this argument. In the absence of any response, Plaintiff has not met her summary
judgment burden on this claim. Celotex, 477 U.S. at 324. Accordingly, Defendant’s motion is granted with
respect to Plaintiff’s FMLA interference claim (Count II), and this claim is dismissed.
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         In response to Defendant’s motion for summary judgment, Plaintiff references a claim for
retaliation under the ADA. As argued by Defendant, however, Plaintiff did not assert a claim for retaliation
under the ADA in her complaint. (See generally Compl., ECF 1). As such, she cannot assert such a claim
by way of her response to Defendant’s motion for summary judgment. See Carr v. Gillis Associated Indus.,
Inc., 227 F. App’x 172, 176 (3d Cir. 2007) (affirming district court’s rejection of claim asserted for first
time by plaintiff in response to motion for summary judgment); OTA P’ship v. Forcenergy, Inc., 237 F.
Supp. 2d 558, 561 n.3 (E.D. Pa. 2002) (holding that a new claim that was first raised in opposition to a
motion for summary judgment was “too late”).
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         Within Counts I and IV, Plaintiff also asserts discrimination claims under the ADA and the PHRA.
Specifically, Plaintiff asserts that Defendant terminated her employment because of her disabilities, i.e.,
anxiety and lupus. Defendant moves for summary judgment on these claims, arguing that Plaintiff has
failed to meet her summary judgment burden with respect to the third element of her prima facie case and
her pretext argument. Because these claims are subject to the same analysis, this Court will address them
together. Taylor v. Phoenixville Sch. Dist., 184 F.3d 296, 306 (3d Cir. 1999).

        In assessing claims of discrimination on the basis of a disability, courts apply the burden-shifting
analysis set forth in McDonnell Douglas Corp. v. Green, 411 U.S. 792, 802–03 (1973). Shaner v. Synthes,
204 F.3d 494, 500 (3d Cir. 2000) (applying McDonnell Douglas to ADA claims). Under the McDonnell
Douglas framework, a plaintiff must first establish a prima facie case of discrimination. Id. To establish a
prima facie case of discrimination under the ADA and the PHRA, Plaintiff must present evidence sufficient
to demonstrate: (1) she is a disabled person within the meaning of the statutes; (2) she is otherwise qualified
to perform the essential functions of her job with or without reasonable accommodation; and (3) she
suffered an adverse employment action that was the result of discrimination. Taylor, 184 F.3d at 306. To
meet the third element, Plaintiff “must show that [her] perceived disability was a ‘determinative factor’” in
Defendant’s decision to terminate her employment. Decker v. Alliant Techs., LLC, 871 F. Supp. 2d 413,
428 (E.D. Pa. 2012) (citing Watson v. SEPTA, 207 F.3d 207, 214–15 (3d Cir. 2000)).

         After a plaintiff has established a prima facie case of discrimination, the burden shifts to the
defendant to “articulate some legitimate, nondiscriminatory reason” for the adverse employment action. Id.
If the defendant carries this burden, the burden shifts back to the plaintiff to prove, by a preponderance of
the evidence, that the legitimate reason proffered by the defendant was a pretext for discrimination. Id.
The “ultimate burden of persuading the trier of fact that the defendant intentionally discriminated against
the plaintiff remains at all times with the plaintiff.” Jones v. Sch. Dist. of Phila., 198 F.3d 403, 410 (3d
Cir.1999) (quoting Tex. Dep’t of Cmty. Affs. v. Burdine, 450 U.S. 248, 252–53 (1981)).


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         Here, Defendant challenges only the third element of Plaintiff’s prima facie case, i.e., that
Plaintiff’s employment was terminated as a result of discrimination based on her disability. Defendant
argues that Plaintiff’s employment was terminated because she refused a drug test, i.e., her purported refusal
to provide a required urine sample. Defendant’s argument, as presented, is actually a challenge to the
pretext prong of the McDonnell Douglas framework, rather than a challenge to the third element of
Plaintiff’s prima facie case. Where the defendant is the moving party, as in the case here, the burden is on
the defendant to show that the plaintiff has failed to establish one or more essential elements. Burton v.
Teleflex Inc., 707 F.3d 417, 425 (3d Cir. 2013). Having failed to make any real challenge to the third
element of Plaintiff’s prima facie case, Defendant’s motion lacks merit with respect to Plaintiff’s prima
facie case of disability discrimination.

         However, considering Defendant’s challenge as one to pretext, this Court finds that Plaintiff has
presented evidence sufficient to create a genuine issue of material fact. As noted, Defendant has proffered
a legitimate, non-discriminatory reason for terminating Plaintiff’s employment—her refusal to provide a
required second urine sample under the observation of a clinician within a three-hour period. Defendant
further contends that Plaintiff was advised of the consequences of leaving without providing a urine sample
and that Plaintiff’s “refusal” to take the test required her termination pursuant to Defendant’s company
policies. This proffered reason shifts the burden to Plaintiff to present “some evidence, direct or
circumstantial, from which a factfinder would reasonably either: (1) disbelieve the employer’s articulated
legitimate reasons; or (2) believe that an invidious discriminatory reason was more likely than not a
motivating or determinative cause of the employer’s action.” Shaner, 204 F.3d at 501 (citations and
quotations omitted).

        As evidence of pretext, Plaintiff points to the circumstances surrounding her drug tests as reasons
for a factfinder to disbelieve Defendant’s proffered reason for her termination. As noted, Defendant
contends that it terminated Plaintiff’s employment pursuant to company policy. Defendant’s cited policy
provides, in relevant part, the following:

                2.9      Employees will be immediately terminated for the following
                conduct: the refusal to take a test or failing to show up for a test without
                reasonable and substantiated explanation, as determined in management’s
                discretion or providing a false or tampered sample; or otherwise willfully
                attempting to subvert the testing process.

                4.2.4 Any safety-sensitive or DOT covered employee shall be required
                to complete a pre-employment drug and alcohol test following any
                absence from the workplace greater than sixty days. The employee shall
                be permitted 24 hours notice to complete testing. Failure to appear may
                constitute a refusal to test and the employee may [be] subject to discipline,
                up to and including immediate termination of employment.

         Notably, nowhere does Defendant’s cited policy require an employee to produce a urine sample
under observation within three hours of the scheduled visit. Nor does the policy provide that an employee’s
inability to provide a urine sample within a three-hour period may result in the termination of the
employee’s employment. To the contrary, Defendant’s policy merely provides that an employee must
appear for a test and complete the test within 24 hours of Defendant’s request. Further, the policy
contemplates Defendant’s consideration of an employee’s “reasonable and substantiated explanation” for
her inability to provide the sample.


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and with respect to Plaintiff’s retaliation claims under the FMLA (Count III). 5



                                                   BY THE COURT:


                                                   /s/ Nitza I. Quiñones Alejandro
                                                   NITZA I. QUIÑONES ALEJANDRO
                                                   Judge, United States District Court




          Plaintiff has presented evidence that upon returning to work from an approved FMLA leave of over
60 days, she appeared for a required drug test at Defendant’s request and provided a urine sample.
According to Defendant, Plaintiff’s initial drug test results were invalid, requiring her to appear for a second
drug test. Plaintiff appeared for the second drug test, at which time she was advised for the first time that
the second test was required to be observed and completed within three hours. Plaintiff remained at the test
site for two hours and fifteen minutes but was physically unable to provide a urine sample under
observation, despite multiple attempts. Prior to the expiration of the three-hour time limit, Plaintiff left the
test site to attend to her children who were at home and had called with various complaints. Defendant
contends this constituted Plaintiff’s “refusal” to take the required drug test and subjected Plaintiff to
immediate termination.

        In light of the clear language of Defendant’s cited policy—which says nothing of a three-hour limit
and, further, contemplates Defendant’s consideration of an employee’s “reasonable and substantiated
explanation” for her inability to provide a urine sample—Plaintiff’s evidence could lead a reasonable
factfinder to disbelieve Defendant’s articulated reason for Plaintiff’s termination. Therefore, genuine issues
of material fact exist with respect to pretext. Accordingly, Defendant’s motion for summary judgment is
denied with respect to Plaintiff’s discrimination claims under the ADA and PHRA.
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         At Count III of the complaint, Plaintiff asserts a claim for retaliation under the FMLA. Specifically,
Plaintiff alleges that Defendant unlawfully terminated her employment in retaliation for requesting and
taking FMLA leave during the period of July 15, 2020, through September 6, 2020. The FMLA and its
regulations prohibit employers from retaliating against employees for taking FMLA protected leave.
Conoshenti v. Pub. Serv. Elec. & Gas Co., 364 F.3d 135, 146 n.9 (3d Cir. 2004); 29 U.S.C. § 2615(a)(1);
29 C.F.R. § 825.220(c). FMLA retaliation claims are evaluated under the McDonnell Douglas burden
shifting framework. Ross v. Gulhuly, 755 F.3d 185, 193 (3d Cir. 2014) (citing McDonnell Douglas, 411
U.S. 792). Under the McDonnell Douglas burden-shifting framework, a plaintiff must first establish a
prima facie case of retaliation. McDonnell Douglas, 411 U.S. at 802. Once the plaintiff establishes a prima
facie case, the burden shifts to the defendant to articulate a legitimate, non-discriminatory reason for the
adverse employment action. Id. If the defendant articulates a legitimate, non-discriminatory reason, the
plaintiff then bears the burden of establishing that this proffered reason was a pretext. Id.

         Here, Defendants move for summary judgment on Plaintiff’s FMLA retaliation claim on the same
basis as argued with respect to Plaintiff’s ADA and PHRA discrimination claims. For the same reasons
discussed above, this Court finds that Plaintiff has presented evidence sufficient to create a genuine issue
of material fact as to pretext. Accordingly, Defendant’s motion for summary judgment is denied with
respect to Plaintiff’s retaliation claim under the FMLA.

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